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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

                                                MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                       Honorable Renée Marie Bumb
  LIABILITY LITIGATION                          Chief District Court Judge


  This Document Relates to the TPP Trial
  Claims


        [PROPOSED] ORDER GRANTING TPP TRIAL DEFENDANTS’
                MOTION FOR SUMMARY JUDGMENT

        THIS MATTER having been brought before the Court by the TPP Trial

  Defendants’ motion for summary judgment, in the above-captioned case, and for

  good cause shown;

        IT IS on this _______ day of ________________________, 2025 hereby

        ORDERED as follows:

  1.    Defendants’ Motion for Summary Judgment is hereby GRANTED;

  And

  2.    All of the TPP Trial claims are hereby dismissed WITH PREJUDICE.

                                     _______________________

                                     Honorable Renée Marie Bumb, U.S.D.J.




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